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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

GULSTAN E. SILVA, JR., as       )         CIV. NO. 15-00436 HG-KJM
Personal Representative of the )
Estate of Sheldon Paul Haleck; )
JESSICA Y. HALECK, Individually )
and as Guardian Ad Litem of     )
Jeremiah M.V. Haleck; WILLIAM )
E. HALECK; VERDELL B. HALECK, )
                                )
               Plaintiffs,      )
                                )
          vs.                   )
                                )
CITY AND COUNTY OF HONOLULU;    )
LOUIS M. KEALOHA, Individually; )
CHRISTOPHER CHUNG; SAMANTHA     )
CRITCHLOW; STEPHEN KARDASH,     )
                                )
               Defendants.      )
                                )

  ORDER GRANTING DEFENDANT LOUIS M. KEALOHA’S MOTION FOR SUMMARY
                      JUDGMENT (ECF No. 193)

                                    and

 DENYING PLAINTIFFS’ AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT
  AS TO THE LIABILITY OF DEFENDANTS CHRISTOPHER CHUNG, SAMANTHA
CRITCHLOW, STEPHEN KARDASH, LOUIS M. KEALOHA, AND CITY AND COUNTY
OF HONOLULU FOR VIOLATIONS OF CONSTITUTIONAL RIGHTS (ECF No. 195)

                                    and

  GRANTING DEFENDANT CITY AND COUNTY OF HONOLULU’S AMENDED MOTION
                 FOR SUMMARY JUDGMENT (ECF No. 199)

                                    and

  GRANTING, IN PART, AND DENYING, IN PART, DEFENDANTS CHRISTOPHER
  CHUNG, SAMANTHA CRITCHLOW, AND STEPHEN KARDASH’S AMENDED MOTION
                 FOR SUMMARY JUDGMENT (ECF No. 200)




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      Plaintiffs filed a Second Amended Complaint against the City

and County of Honolulu, former Honolulu police chief Louis

Kealoha, and Honolulu police officers Christopher Chung, Samantha

Critchlow, and Stephen Kardash relating to a March 16, 2015

incident involving Sheldon Paul Haleck.

      Plaintiffs claim the Honolulu police officers seized Sheldon

Paul Haleck and used excess force when they arrested him for

disorderly conduct.      Plaintiffs assert that the Honolulu police

officers used pepper spray and a Taser multiple times against

Sheldon Paul Haleck.      He died following his arrest.

      Plaintiffs allege constitutional violations and state law

claims against the City and County of Honolulu, the former police

chief, and the Honolulu police officers who seized and arrested

Haleck.

      There are four motions for summary judgment filed by the

Parties.


      1.    Defendant Louis M. Kealoha’s Motion for Summary
            Judgment (ECF No. 193)


      Defendant Louis M. Kealoha filed a Motion for Summary

Judgment on all claims against him.

      First, Defendant Kealoha seeks summary judgment as to

Plaintiffs’ third cause of action.        The cause of action includes

a Section 1983 claim against Defendant Kealoha in his individual

capacity for failure to supervise, failure to discipline, and

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ratification of the police officers’ actions as stated in the

Third Cause of Action.

      Second, Defendant Kealoha moves for summary judgment as to

the Eighth Cause of Action for interference with civil rights.

      Defendant Louis M. Kealoha’s Motion for Summary Judgment

(ECF No. 193) is GRANTED.


      2.    Plaintiffs’ Amended Motion for Summary Judgment (ECF
            No. 195)


      Plaintiffs filed an Amended Motion for Partial Summary

Judgment as to the liability of Defendants City and County of

Honolulu, Louis M. Kealoha, Christopher Chung, Samantha

Critchlow, and Stephen Kardash for alleged constitutional

violations pursuant to Section 1983 as stated in the First,

Second, and Third Causes of Action.

      Plaintiffs’ Amended Motion for Partial Summary Judgment (ECF

No. 195) is DENIED.


      3.    Defendant City and County of Honolulu’s Amended Motion
            for Summary Judgment (ECF No. 199)


      Defendant City and County of Honolulu filed an Amended

Motion for Summary Judgment as to Plaintiffs’ Third Cause of

Action for Section 1983 municipal liability.          Defendant City and

County also seeks summary judgment in its favor as to Plaintiffs’

Eighth Cause of Action for interference with civil rights.


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      Defendant City and County of Honolulu’s Amended Motion for

Summary Judgment (ECF No. 199) is GRANTED.


      4.    Defendants Christopher Chung, Samantha Critchlow, and
            Stephen Kardash’s Amended Motion for Summary Judgment
            (ECF No. 200)


      Defendants Christopher Chung, Samantha Critchlow, and

Stephen Kardash filed an Amended Motion for Summary Judgment as

to Plaintiffs’ constitutional and state law claims against them

stated in the First, Second, Fourth, Fifth, Sixth, and Seventh

Causes of Action.     The Defendant police officers assert that they

did not violate Haleck’s constitutional rights and are otherwise

entitled to qualified immunity.        The Defendant officers argue

they are entitled to a conditional privilege as to the

Plaintiffs’ state law claims.

      Defendant Honolulu Police Officers’ Amended Motion for

Summary Judgment (ECF No. 200) is GRANTED, IN PART, AND DENIED,

IN PART.

      As to the Causes of Action stated in the Second Amended

Complaint:

      The Court GRANTS Summary Judgment for the respective

Defendants as to the Causes of Action 2 through 8.

      The only Cause of Action remaining is as follows:

      The First Cause of Action for Excessive Force in Violation
      of the Fourth Amendment to the United States Constitution
      Pursuant to 42 U.S.C. § 1983 stated by Plaintiff Gulstan E.

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      Silva, Jr., as Personal Representative of the Estate of
      Sheldon Paul Haleck, against Defendants Christopher Chung,
      Samantha Critchlow, and Stephen Kardash in their individual
      capacities.


      There are no remaining claims by Plaintiffs Jessica Y.

Haleck, for herself and as Guardian Ad Litem for Jeremiah M.V.

Haleck, William E. Haleck, and Verdell B. Haleck.

      The only remaining Plaintiff is Gulstan E. Silva, Jr., as

Personal Representative of the Estate of Sheldon Paul Haleck.

      There are no remaining claims against Defendant City and

County of Honolulu and Defendant Louis M. Kealoha.

      The only remaining Defendants are Christopher Chung,

Samantha Critchlow, and Stephen Kardash.


                           PROCEDURAL HISTORY


      On October 20, 2015, Plaintiffs filed a Complaint.             (ECF No.

1).

      On the same date, Plaintiff Jessica Y. Haleck filed an Ex

Parte Motion for Appointment of Guardian Ad Litem.           (ECF No. 3).

      On November 23, 2015, the Magistrate Judge issued an Order

Appointing Jessica Y. Haleck as Guardian Ad Litem for Jeremiah

M.V. Haleck.     (ECF No. 11).

      On March 29, 2016, Plaintiffs filed a FIRST AMENDED

COMPLAINT.    (ECF No. 31).

      On January 4, 2017, Defendant Louis M. Kealoha, Defendant


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City and County of Honolulu, and Defendants Christopher Chung,

Samantha, Critchlow, Stephen Kardash, Chad Sano, Reynwood

Makishi, and Frank Pojsl filed Motions for Summary Judgment and

Concise Statements of Facts.       (ECF Nos. 126, 127, 134, 136, 137,

138).

      On the same date, Plaintiffs filed a Motion for Partial

Summary Judgment and a Concise Statement of Facts.           (ECF Nos.

131, 132).

      On January 4, 2017, Plaintiffs filed a Motion to Seal

Documents (ECF No. 133) and Defendant Louis M. Kealoha filed a

Motion to Seal Documents (ECF No. 129).

      On January 11, 2017, the Court issued an ORDER GRANTING

PLAINTIFFS LEAVE TO FILE EXHIBITS UNDER SEAL.          (ECF No. 145).

      Also on January 11, 2017, the Court issued an ORDER GRANTING

DEFENDANT LOUIS M. KEALOHA’S EX-PARTE MOTION FOR LEAVE TO FILE

CERTAIN EXHIBITS UNDER SEAL.       (ECF No. 146).

      On January 20, 2017, the Parties filed their Oppositions to

the Motions for Summary Judgment.         (ECF No. 152, 153, 154, 155,

157, 158, 159, 160).

      On February 2, 2017, the Parties filed their Replies.           (ECF

Nos. 167, 168, 169, 170).

      On February 6, 2017, the Court issued an ORDER GRANTING

PLAINTIFFS LEAVE TO FILE EXHIBITS UNDER SEAL.          (ECF No. 171).

      On February 15, 2017, Plaintiffs filed PLAINTIFFS’ MOTION


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FOR LEAVE TO FILE SECOND AMENDED COMPLAINT.          (ECF No. 173).

      Also on February 15, 2017, Plaintiffs filed PLAINTIFFS’

MOTION TO DISMISS DEFENDANTS LOUIS M. KEALOHA, IN HIS OFFICIAL

CAPACITY, CHAD SANO, REYNWOOD MAKISHI, AND FRANK POJSL.              (ECF No.

174).

      On the same date, Plaintiffs filed PLAINTIFFS’ EX PARTE

MOTION TO SHORTEN TIME FOR HEARING (1) MOTION TO DISMISS

DEFENDANTS LOUIS M. KEALOHA, IN HIS OFFICIAL CAPACITY, CHAD SANO,

REYNWOOD MAKISHI, AND FRANK POJSL AND (2) MOTION FOR LEAVE TO

FILE SECOND AMENDED COMPLAINT.        (ECF No. 175).

      On February 16, 2017, the Court issued a Minute Order

granting Plaintiffs’ Motion to Shorten Time and issued a briefing

schedule as to Plaintiffs’ Motion to Dismiss and their Motion to

File Second Amended Complaint.        (ECF No. 177).

      On February 16, 2017, the Court issued the Parties’

STIPULATION FOR PARTIAL DISMISSAL WITHOUT PREJUDICE OF ALL CLAIMS

AGAINST DEFENDANT DONNA Y.L LEONG AND ORDER.          (ECF No. 176).

      On March 7, 2017, the Court held a hearing as to Plaintiff’s

Motion to Dismiss, Plaintiff’s Motion for Leave to File Second

Amended Complaint, and the scheduling of the Motions for Summary

Judgment.    (ECF No. 186).

      The Court granted, in part, and denied, in part, Plaintiffs’

Motion to Dismiss and granted Plaintiff’s Motion for Leave to

File Second Amended Complaint.        (Id.)


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      The Court ordered the Parties to re-file their Motions for

Summary Judgment in accordance with its Orders on Plaintiffs’

Motions to Dismiss and Leave to Amend.         (Id.)

      On March 10, 2017, Plaintiffs filed their SECOND AMENDED

COMPLAINT FOR DAMAGES.      (ECF No. 189).

      On March 14, 2017, the Court issued an ORDER GRANTING, IN

PART, AND DENYING, IN PART, PLAINTIFFS’ MOTION TO DISMISS

DEFENDANTS LOUIS M. KEALOHA, IN HIS OFFICIAL CAPACITY, CHAD SANO,

REYNWOOD MAKISHI AND FRANK POJSL AND GRANTING PLAINTIFFS’ MOTION

FOR LEAVE TO FILE SECOND AMENDED COMPLAINT.          (ECF No. 192).

      On March 21, 2017, Defendant Kealoha filed his Motion for

Summary Judgment (ECF No. 193), Defendant City and County of

Honolulu filed its Amended Motion for Summary Judgment (ECF No.

199), and the Defendant Honolulu Police Officers filed their

Amended Motion for Summary Judgment (ECF No. 200).

      On the same date, Plaintiffs filed their Amended Motion for

Summary Judgment.     (ECF No. 195).

      On April 17, 2017, the Parties filed their Oppositions.

(ECF No. 208, 209, 210, 211).

      On April 24, 2017, the Parties filed their Replies.            (ECF

Nos. 212, 214, 215, 216).

      On June 14, 2017, the Court held a hearing on the Parties’

four Motions for Summary Judgment.        (ECF No. 223).     The Court

ruled from the bench.      The Court granted the Motions for Summary


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Judgment filed by Defendants Louis M. Kealoha and the City and

County of Honolulu.      The Court granted, in part, and denied, in

part, the Defendant Officers’ Motion for Summary Judgment.             The

Court denied Plaintiffs’ Motion for Summary Judgment.           The

reasons for the decision are set forth in this Written Order.


                                BACKGROUND

The Parties

      There are five Plaintiffs named in the Second Amended

Complaint.    All of the Plaintiffs claim they are relatives of

Sheldon Paul Haleck, who is deceased.         (Second Amended Complaint

at ¶¶ 7-12, ECF No. 189).       Gulstan E. Silva, Jr. is the personal

representative of the Estate of Sheldon Paul Haleck.

      Plaintiffs have filed federal and state law claims against

the City and County of Honolulu and various individuals arising

out of a March 16, 2015 incident involving Honolulu Police

Officers and Sheldon Haleck.       (Id. at pp. 3-22).

      Plaintiffs’ relationships to Sheldon Haleck are alleged in

the Second Amended Complaint as follows:

      (1)   Plaintiff Gulstan E. Silva, Jr. as the natural uncle of
            Sheldon Haleck and as the Personal Representative of
            the Estate of Sheldon Paul Haleck (id. at ¶ 8);

      (2)   Plaintiff Jessica Y. Haleck as the wife of Sheldon
            Haleck and as Guardian Ad Litem of Jeremiah M.V. Haleck
            (id. at ¶ 9);

      (3)   Plaintiff Jeremiah M.V. Haleck as the minor son of
            Plaintiff Jessica Y. Haleck and Sheldon Haleck (id. at
            ¶ 10);

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       (4)   Plaintiff William E. Haleck as the father of Sheldon
             Haleck (id. at ¶ 11); and,

       (5)   Plaintiff Verdell B. Haleck as the mother of Sheldon
             Haleck (id. at ¶ 12).


       The Second Amended Complaint names the following Defendants:

       (1)   Defendant City and County of Honolulu (id. at ¶ 13);

       (2)   Defendant Louis M. Kealoha, individually, former Chief
             of the Honolulu Police Department; (id. at ¶ 14);

       (3)   Defendant Christopher Chung, individually and in his
             official capacity as an officer with the Honolulu
             Police Department, (id. at ¶ 15);

       (4)   Defendant Samantha Critchlow, individually and in her
             official capacity as an officer with the Honolulu
             Police Department, (id. at ¶ 16); and,

       (5)   Defendant Stephen Kardash, individually and in his
             official capacity as an officer with the Honolulu
             Police Department, (id. at ¶ 17).


 The Parties Agree to the Following Facts:


       At 8:15 p.m., on March 16, 2015, Honolulu Police Officer

 Christopher Chung (“Officer Chung”) responded to a call from

 dispatch about a male walking in the middle of South King Street,

 a busy six-lane road in Downtown Honolulu.         (Deposition of

 Officer Christopher Chung (“Chung Depo.”) at p. 27-29, attached

 as Ex. C to Pla.’s Concise Statement of Facts (“CSF”), ECF No.

 196-4).     Officer Chung arrived at the scene and observed Sheldon

 Paul Haleck (“Haleck”) in the street.        (Id. at p. 29).     Officer

 Samantha Critchlow (“Officer Critchlow”) arrived approximately


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 one minute later.     (Deposition of Officer Samantha Critchlow

 (“Critchlow Depo.”) at p. 39, attached as Ex. D to Pla.’s CSF,

 ECF No. 196-5).

       Both Officers instructed Haleck to get out of the middle of

 the road and to move to the sidewalk.        (Id. at p. 42; Chung Depo.

 at p. 30, ECF No. 196-4).       Haleck did not comply with the

 Officers’ instructions and moved away from them while remaining

 in the middle of the street.       (Critchlow Depo. at p. 42, ECF No.

 196-5; Chung Depo. at p. 34, ECF No. 196-4).

       The Officers warned Haleck that they would use pepper spray

 if he did not comply, but Haleck did not move to the sidewalk.

 (Chung Depo. at p. 34, ECF No. 196-4).        The Officers sprayed

 Haleck with pepper spray multiple times.         (Id. at pp. 37-38;

 Critchlow Depo. at p. 48, ECF No. 196-5).         Haleck continued to

 run away from the Officers, moving side to side, and he did not

 move to the sidewalk.      (Chung Depo. at p. 38, ECF No. 196-4).

       Officer Chung warned Haleck that he would use the Taser if

 Haleck did not get on the sidewalk.        (Chung Depo. at p. 49, 196-

 4).   Officer Chung deployed the Taser in dart mode and pulled the

 trigger to send a current through the probes but Haleck did not

 fall to the ground.     (Id.)

       Officer Stephen Kardash (“Officer Kardash”) arrived at the

 scene and also ordered Haleck to move to the sidewalk.

 (Deposition of Officer Stephen Kardash (“Kardash Depo.”) at p.


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 23, attached as Ex. E to Pla.’s CSF, ECF No. 196-6).           Haleck did

 not comply and Officer Kardash sprayed Haleck with pepper spray.

 (Id. at p. 36).

       Officer Chung deployed his Taser in dart mode a second time

 and pulled the trigger to send a current through the probes.

 (Critchlow Depo. at p. 53, ECF No. 196-5).         Officer Chung

 testified in his deposition that while the probes were still

 deployed from the second deployment, he pulled the trigger to

 send a current through the probes a third time.          (Chung Depo. at

 p. 51, attached as Ex. A to Def.’s Opp., ECF No. 210-3).             The

 Parties agree that following the third use of the Taser, Haleck

 fell to the ground.     The Parties dispute the cause of the fall.

       The Officers attempted to handcuff Haleck after he had

 fallen on the ground.      (Critchlow Depo. at p. 57, ECF No. 196-5).

 Haleck did not comply with Officers’ requests to cooperate and he

 was “flailing,” “squirming,” and “kicking.”         (Id.)   Six Officers

 were needed to hold Haleck down in order to place him in

 handcuffs and leg shackles.       (Chung Depo. at p. 57, ECF No. 196-

 4; Kardash Depo. at pp. 47-49, ECF No. 196-6).

       Following the fall and cuffing, Haleck was arrested for

 disorderly conduct.     (Critchlow Depo. at p. 67, ECF No. 196-5).

 Minutes later, Haleck lost consciousness and stopped breathing.

 (Critchlow Depo. at p. 60, ECF No. 196-5; Kardash Depo. at p. 49,

 ECF No. 196-6).     An ambulance arrived at the scene and took


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 Haleck to Queen’s Medical Center.         (Autopsy Report of Sheldon P.

 Haleck at p. 3, attached as Ex. A to Def. Honolulu’s CSF, ECF No.

 136-13).    The next morning, approximately 11 hours later, Haleck

 was pronounced dead at 7:33 a.m.         (Id.)


       Plaintiffs’ Position:


       Plaintiffs assert that the third use of the Taser caused

 Haleck to fall.     Plaintiffs point to evidence from the Autopsy

 that there were red marks on Haleck’s body that they assert

 indicate the Taser had some effect on Haleck.         (Autopsy Report of

 Sheldon P. Haleck at p. 6, attached as Ex. A to Def. Honolulu’s

 CSF, ECF No. 136-13; Report of Richard Lichten, at p. 11,

 attached as Ex. B to Pla.’s CSF, ECF No. 147-1).

       Plaintiffs claim the Officers’ multiple uses of pepper spray

 and the Taser were not reasonable under the circumstances.


       Defendants’ Position:


       Defendants state that following the third use of the Taser,

 Haleck’s shorts fell down and he tripped and fell to the ground.

 (Critchlow Depo. at p. 54, ECF No. 196-5; Kardash Depo. at p. 45,

 ECF No. 196-6).     Defendants assert that the Chief Medical

 Examiner determined that the Taser had no effect on Haleck

 because the barbs never implanted in his skin.          (Deposition of

 Chief Medical Examiner Dr. Christopher Happy at pp. 22-24, (“Dr.


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 Happy Depo.”) attached as Ex. H to Def.’s Opp., ECF No. 210-9).

       Defendants assert that the Officers’ actions were reasonable

 under the circumstances.      Defendants claim there was an immediate

 threat of injury to the Officers and others.         The Defendants base

 their claim on the facts that the incident occurred in the middle

 of a busy street in Downtown Honolulu, at night, and that Haleck

 refused to comply with the Officers’ warnings and commands.


                            STANDARD OF REVIEW


       Summary judgment is appropriate when there is no genuine

 issue as to any material fact and the moving party is entitled to

 judgment as a matter of law.       Fed. R. Civ. P. 56(c).      To defeat

 summary judgment there must be sufficient evidence that a

 reasonable jury could return a verdict for the nonmoving party.

 Nidds v. Schindler Elevator Corp., 113 F.3d 912, 916 (9th Cir.

 1997).

       The moving party has the initial burden of “identifying for

 the court the portions of the materials on file that it believes

 demonstrate the absence of any genuine issue of material fact.”

 T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Ass'n, 809

 F.2d 626, 630 (9th Cir. 1987) (citing Celotex Corp. v. Catrett,

 477 U.S. 317, 323 (1986)).      The moving party, however, has no

 burden to negate or disprove matters on which the opponent will

 have the burden of proof at trial.        The moving party need not


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 produce any evidence at all on matters for which it does not have

 the burden of proof.     Celotex, 477 U.S. at 325.       The moving party

 must show, however, that there is no genuine issue of material

 fact and that he or she is entitled to judgment as a matter of

 law.    That burden is met by pointing out to the district court

 that there is an absence of evidence to support the non-moving

 party’s case.    Id.

        If the moving party meets its burden, then the opposing

 party may not defeat a motion for summary judgment in the absence

 of probative evidence tending to support its legal theory.

 Commodity Futures Trading Comm'n v. Savage, 611 F.2d 270, 282

 (9th Cir. 1979).     The opposing party must present admissible

 evidence showing that there is a genuine issue for trial. Fed. R.

 Civ. P. 56(e); Brinson v. Linda Rose Joint Venture, 53 F.3d 1044,

 1049 (9th Cir. 1995).      “If the evidence is merely colorable, or

 is not significantly probative, summary judgment may be granted.”

 Nidds, 113 F.3d at 916 (quoting Anderson v. Liberty Lobby, Inc.,

 477 U.S. 242, 249-50 (1986)).

        The court views the facts in the light most favorable to the

 non-moving party.      State Farm Fire & Casualty Co. v. Martin, 872

 F.2d 319, 320 (9th Cir. 1989).       Opposition evidence may consist

 of declarations, admissions, evidence obtained through discovery,

 and matters judicially noticed.       Fed. R. Civ. P. 56(c); Celotex,

 477 U.S. at 324.     The opposing party cannot, however, stand on


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 its pleadings or simply assert that it will be able to discredit

 the movant’s evidence at trial. Fed. R. Civ. P. 56(e); T.W. Elec.

 Serv., 809 F.2d at 630.      The opposing party cannot rest on mere

 allegations or denials.      Fed. R. Civ. P. 56(e); Gasaway v.

 Northwestern Mut. Life Ins. Co., 26 F.3d 957, 959-60 (9th Cir.

 1994).   When the non-moving party relies only on its own

 affidavits to oppose summary judgment, it cannot rely on

 conclusory allegations unsupported by factual data to create an

 issue of material fact.      Hansen v. United States, 7 F.3d 137, 138

 (9th Cir. 1993); see also National Steel Corp. v. Golden Eagle

 Ins. Co., 121 F.3d 496, 502 (9th Cir. 1997).


                                  ANALYSIS

       There are eight causes of action in the Second Amended

 Complaint:

 FIRST CAUSE OF ACTION:       Excessive Force in violation of the
                              Fourth Amendment to the United States
                              Constitution and Article I of the Hawaii
                              Constitution pursuant to 42 U.S.C. §
                              1983

                              Stated by:
                              Plaintiffs Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and Jessica Y.
                              Haleck, individually and as Guardian Ad
                              Litem for Jeremiah M.V. Haleck, William
                              E. Haleck, and Verdell B. Haleck
                              (hereinafter “the individual
                              Plaintiffs”)

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash

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 SECOND CAUSE OF ACTION:      Violations of the Due Process Clause of
                              the Fourteenth Amendment to the United
                              States Constitution Pursuant to 42
                              U.S.C. § 1983

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 THIRD CAUSE OF ACTION:       Municipality and Supervisor Liability
                              for United States Constitutional
                              Violations pursuant to 42 U.S.C. § 1983

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants City and County of Honolulu
                              and Louis M. Kealoha


 FOURTH CAUSE OF ACTION:      Assault and Battery

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 FIFTH CAUSE OF ACTION:       Intentional Infliction of Emotional
                              Distress

                              Stated by:

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                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 SIXTH CAUSE OF ACTION:       Negligence

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 SEVENTH CAUSE OF ACTION: Negligent Infliction of Emotional
                          Distress

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 EIGHTH CAUSE OF ACTION:      Interference With Civil Rights

                              Stated by:
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, and the individual
                              Plaintiffs

                              Stated against:

                              Defendants City and County of Honolulu

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                              and Louis M. Kealoha


       Plaintiffs move for partial summary judgment in their favor

 as to Causes of Action 1-3.

       Defendants move for summary judgment in their favor as to

 all Causes of Action 1-8.




 FIRST CAUSE OF ACTION:       Excessive Force in Violation of the
                              Fourth Amendment to the United States
                              Constitution and Article I of the
                              Constitution of the State of Hawaii
                              Pursuant to 42 U.S.C. § 1983 Stated by
                              All Plaintiffs Against the Defendant
                              Officers Chung, Critchlow, and Kardash


       A plaintiff may challenge actions by government officials

 that violate the United States Constitution, pursuant to 42

 U.S.C. § 1983.     Section 1983 provides:

       Every person who, under color of any statute,
       ordinance, regulation, custom, or usage ... subjects,
       or causes to be subjected, any citizen of the United
       States ... to deprivation of any rights, privileges, or
       immunities secured by the Constitution and laws, shall
       be liable to the party injured in an action at law,
       suit in equity, or other proper proceeding for
       redress....

       42 U.S.C. § 1983.     Section 1983 does not create any

 substantive rights.     Cholla Ready Mix, Inc. v. Civish, 382 F.3d

 969, 978 (9th Cir. 2004).

       To prevail on a Section 1983 claim, a plaintiff must

 establish that a right secured by the Constitution or law of the


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 United States was violated and that the violation was committed

 by a person acting under the color of state law.          West v. Atkins,

 487 U.S. 42, 48 (1988).


       A.    Standing


       The First Cause of Action is stated by Plaintiffs Gulstan E.

 Silva, Jr., as Personal Representative of the Estate of Sheldon

 Paul Haleck, and Jessica Y. Haleck, individually and as Guardian

 Ad Litem for Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck against the Defendants Christopher Chung, Samantha

 Critchlow, and Stephen Kardash in both their individual

 capacities and their official capacities as Honolulu Police

 Officers.

       In Section 1983 actions, the survivors of an individual who

 allegedly died as a result of an officer’s excessive use of force

 may assert a Fourth Amendment claim on that individual’s behalf

 if the relevant state’s law authorizes a survival action.

 Moreland v. Las Vegas Metro. Police Dept., 159 F.3d 365, 369 (9th

 Cir. 1998).

       Hawaii law permits the decedent’s “legal representative” to

 pursue his tort claims.      Haw. Rev. Stat. § 663-7.      The term,

 “legal representative,” has not been defined by statute or the

 Hawaii Supreme Court.

       The interpretation of the term “legal representative” in


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 Haw. Rev. Stat. § 663-7 was considered by the federal district

 court in Agae v. United States, 125 F.Supp.2d 1243, 1248 (D. Haw.

 2000).    In Agae, the district court found that a legal

 representative generally refers to one who stands in place of,

 and represents the interests of another such as an administrator

 of an estate or a court appointed guardian of a minor.           Id.   The

 district court found that the term is not so broad so as to allow

 an individual heir to a decedent to file a claim on his or her

 behalf.    Id. at 1248.    The district court found that the term

 “legal representative,” as used in Haw. Rev. Stat. § 663-7, is

 limited to one who stands in the place of the deceased and

 represents his interest, either by the decedent’s act or by the

 operation of law, citing Mutual Life Ins. v. Armstrong, 117 U.S.

 591, 597 (1886).     Agae, 125 F.Supp.2d at 1248.

       In this case, the Second Amended Complaint states that

 Sheldon Haleck’s estate is represented by Plaintiff Gulstan E.

 Silva, Jr.    (Second Amended Complaint at ¶ 8, ECF No. 189).

 Plaintiff Silva, as personal representative of the decedent’s

 estate, has standing to assert a Fourth Amendment Excessive Force

 Claim pursuant to Section 1983 on the decedent’s behalf.

       The remaining Plaintiffs Jessica Y. Haleck, individually and

 as Guardian Ad Litem for Jeremiah M.V. Haleck, William E. Haleck,

 and Verdell B. Haleck, allege they are related to the decedent

 Sheldon Haleck.     Their status as relatives does not confer upon


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 them standing to pursue decedent Sheldon Haleck’s Fourth

 Amendment claim pursuant to Haw. Rev. Stat. § 663-7.           Agae, 125

 F.Supp.2d at 1248; Ryder v. Booth, Civ. No. 16-00065HG-KSC, 2016

 WL 2745809, *5 (D. Haw. May 11, 2016) (finding that only one

 plaintiff had standing to pursue the decedent’s Section 1983

 claim on behalf of the decedent’s estate).

       Plaintiffs Jessica Y. Haleck, individually and as Guardian

 Ad Litem for Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck do not have individual standing to bring a Fourth

 Amendment Excessive Force Claim.         There are no facts that

 Plaintiffs Jessica Y. Haleck, Jeremiah M.V. Haleck, William E.

 Haleck, or Verdell B. Haleck were involved in the March 16, 2015

 incident that would allow them to pursue their own Section 1983

 excessive force claims.

       Defendant Officers Chung, Critchlow, and Kardash’s Amended

 Motion for Summary Judgment is GRANTED, IN PART, as to Plaintiffs

 Jessica Y. Haleck, individually and as Guardian Ad Litem for

 Jeremiah M.V. Haleck, William E. Haleck, and Verdell B. Haleck’s

 Claim in the First Cause of Action in the Second Amended

 Complaint.

       Plaintiffs Jessica Y. Haleck, individually and as Guardian

 Ad Litem for Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck’s Amended Motion for Partial Summary Judgment as to the

 First Cause of Action is DENIED.


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       Plaintiffs Jessica Y. Haleck, individually and as Guardian

 Ad Litem for Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck may not bring an excessive force claim on behalf of

 Sheldon Paul Haleck.

       Plaintiff Gulstan E. Silva, Jr., as Personal Representative

 of the Estate of Sheldon Paul Haleck, is the only Plaintiff with

 standing to bring an Excessive Force Claim pursuant to Section

 1983.


       B.      Section 1983 Does Not Permit State Constitutional
               Claims


       In the First Cause of Action, Plaintiff Silva alleges the

 Defendant Officers Chung, Critchlow, and Kardash violated Sheldon

 Haleck’s rights under the Fourth Amendment to the United States

 Constitution and Article I of the Hawaii Constitution pursuant to

 42 U.S.C. § 1983. (Second Amended Complaint at pp. 11-12, ECF No.

 189).      Plaintiff Silva is unable to assert a Section 1983 claim

 pursuant to a violation of the Hawaii State Constitution.

       Section 1983 is a remedy for violations of federal rights.

 Violations of state law, including a state constitution, are not

 cognizable pursuant to Section 1983.        Maizner v. Hawaii Dept. of

 Educ., 405 F.Supp.2d 1225, 1240 (D. Haw. 2005) (citing Lovell v.

 Poway Unified Sch. Dist., 90 F.3d 367, 370 (9th Cir. 1996)).

 Plaintiff Silva may not bring an excessive force claim in

 violation of the Hawaii Constitution pursuant to Section 1983.

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       Defendant Officers Chung, Critchlow, and Kardash’s Amended

 Motion for Summary Judgment is GRANTED, IN PART, as to Plaintiff

 Silva’s Claim in the First Cause of Action as an alleged

 violation of Article I of the Hawaii State Constitution pursuant

 to 42 U.S.C. § 1983.

       Plaintiff Silva’s Amended Motion for Partial Summary

 Judgment as to the First Cause of Action as an alleged violation

 of Article I of the Hawaii State Constitution pursuant to 42

 U.S.C. § 1983 is DENIED.


       C.    Individual and Official Capacities


       Plaintiff Silva asserts the First Cause of Action against

 Defendant Honolulu Officers Chung, Critchlow, and Kardash in both

 their official and individual capacities.

       A suit against a police officer in his or her official

 capacity is the equivalent of naming the government entity itself

 as the defendant.     Kentucky v. Graham, 473 U.S. 159, 165-67

 (1985); Community House, Inc. v. City of Boise, 623 F.3d 945,

 966-67 (9th Cir. 2010).

       The Defendant City and County of Honolulu is already a named

 defendant.    Plaintiff has brought the Third Cause of Action

 against the Defendant City and County of Honolulu pursuant to

 Section 1983.

       Duplicative Section 1983 claims may not be brought against


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 both the municipality itself and against the individual

 government officials in their official capacities.          Vance v.

 Cnty. of Santa Clara, 928 F.Supp. 993, 996 (N.D. Cal. 1996); see

 Lawman v. City and Cnty. of San Francisco, 159 F.Supp.3d 1130,

 1143 n.7 (N.D. Cal. 2016).

       Plaintiff’s Section 1983 Claim in the First Cause of Action

 against Defendant Honolulu Officers Chung, Critchlow, and Kardash

 in their official capacities is duplicative of Plaintiff’s Third

 Cause of Action against the Defendant City and County of

 Honolulu.    McFarland v. City of Clovis, 163 F.Supp.3d 798, 808

 (E.D. Cal. 2016); Carnell v. Grimm, 872 F.Supp. 746, 752 (D. Haw.

 1994).

       Defendant Officers Chung, Critchlow, and Kardash’s Amended

 Motion for Summary Judgment is GRANTED, IN PART, as to Plaintiff

 Silva’s Section 1983 Claim in the First Cause of Action against

 the Defendant Officers in their official capacities.

       Plaintiff Silva’s Amended Motion for Partial Summary

 Judgment as to the Section 1983 Claim in the First Cause of

 Action against Defendant Officers Chung, Critchlow, and Kardash,

 in their official capacities, is DENIED.

       The remaining claim in the First Cause of Action is as

 follows:

       Plaintiff Silva’s Claim for Excessive Force in
       violation of the Fourth Amendment to the United States
       Constitution pursuant to 42 U.S.C. § 1983 as stated
       against Defendant Officers Chung, Critchlow, and

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       Kardash in their individual capacities.


       D.    Excessive Force


       A person deprives another of a constitutional right, within

 the meaning of Section 1983, if he does an affirmative act,

 participates in another’s affirmative acts, or omits to perform

 an act which he is legally required to do that causes the

 deprivation of which the plaintiffs complain.         Leer v. Murphy,

 844 F.2d 628, 633 (9th Cir. 1988).

       Plaintiff Silva asserts that Defendant Honolulu Officers

 Chung, Critchlow, and Kardash used excessive force in the course

 of their arrest of Haleck.      It is undisputed that Officers Chung,

 Critchlow, and Kardash acted under color of state law when they

 acted to seize and arrest Haleck.

       The use of force in the course of an arrest is analyzed

 pursuant to the Fourth Amendment of the United States and its

 reasonableness standard.      Graham v. Connor, 490 U.S. 386, 397

 (1989).    The reasonableness inquiry is an objective one: the

 question is if the officer’s actions are objectively reasonable

 in light of the facts and circumstances confronting them.            See

 id.   The essence of the reasonableness inquiry is a balancing of

 the force which was applied against the need for that force.

 Liston v. Cnty. of Riverside, 120 F.3d 965, 976 (9th Cir. 1997).

       Determining whether the force used to effect a particular


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 seizure is reasonable pursuant to the Fourth Amendment requires a

 careful balancing of the “nature and quality of the intrusion on

 the individual’s Fourth Amendment interests” against the

 countervailing governmental interests at stake.          Graham, 490 U.S.

 at 396 (quoting Tennessee v. Garner, 471 U.S. 1, 7-8 (1985)).


             1.   Nature and Quality of the Intrusion


       The gravity of the particular intrusion that a given use of

 force imposes upon an individual’s liberty interest is measured

 by “the type and amount of force inflicted.”         Jackson v. City of

 Bremerton, 268 F.3d 646, 651-52 (9th Cir. 2001) (citing Chew v.

 Gates, 27 F.3d 1432, 1440 (9th Cir. 1994)).

       In this case, it is undisputed that on March 16, 2015,

 Honolulu Police Officers Chung, Critchlow, and Kardash seized and

 arrested Sheldon Haleck.      During the course of the seizure and

 arrest, Officers Chung, Critchlow, and Kardash repeatedly used

 pepper spray on Haleck.      (Chung Depo. at pp. 37-38, ECF No. 196-

 4; Critchlow Depo. at p. 48, ECF No. 196-5; Kardash Depo. at p.

 36, ECF No. 196-6).

       The use of pepper spray is a form of force capable of

 inflicting significant pain and causing serious injury.              Young v.

 Cnty. of Los Angeles, 655 F.3d 1156, 1161 (9th Cir. 2011).

 Pepper spray is regarded as an “intermediate force” that, while

 less than deadly force, presents a significant intrusion upon an


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 individual’s liberty interests.       Nelson v. City of Davis, 685

 F.3d 867, 878 (9th Cir. 2012).

       There is no dispute that a Taser was deployed by Officer

 Chung at Haleck.     (Chung Depo. at pp. 49-51, ECF No. 196-4;

 Critchlow Depo. at p. 51, ECF No. 196-5; Kardash Depo. at p. 44,

 ECF No. 196-6).

       The use of a Taser constitutes an intermediate use of force.

 Bryan v. MacPherson, 630 F.3d 805, 824 (9th Cir. 2010).              The

 Ninth Circuit Court of Appeals has considered the effects of

 Tasers at length and held that they constitute an “intermediate

 significant level of force that must be justified by the

 governmental interest involved.”         Id.

       In MacPherson, the plaintiff was shot with a Taser that

 caused him to fall face-first to the ground.         Id.    The plaintiff

 suffered facial contusions and four fractured teeth as a result

 of the Taser use.     Id.   The Ninth Circuit Court of Appeals held

 that the “physiological effects, the high levels of pain, and

 foreseeable risk of physical injury lead us to conclude that the

 X26 [Taser] and similar devices are a greater intrusion than

 other non-lethal methods of force we have confronted.”           Id.       The

 appellate court explained that the Taser delivered in dart-mode

 sends an electrical impulse that instantly overrides the victim’s

 central nervous system, paralyzing the muscles throughout the

 body, rendering the target limp and helpless.         Id.


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        The appeals court stated that the pain caused by a Taser is

 “intense, is felt throughout the body, and ... [may cause]

 immobilization, disorientation, loss of balance, and weakness.”

  Id. (quoting Matta-Ballesteros v. Henman, 896 F.2d 255, 256 n.2

 (7th Cir. 1990)); see also Mattos v. Agarano, 661 F.3d 433, 443

 (9th Cir. 2011) (en banc) (reviewing excessive force claims for

 use of a Taser).

        The Parties dispute the effect of the Taser and if the Taser

 shocked Haleck.     The Chief Medical Examiner, Dr. Happy, stated in

 his autopsy report that there was “no evidence of Taser barb

 penetration of the skin.”      (Autopsy Report of Sheldon P. Haleck

 at p. 1, attached as Ex. A to Def. Honolulu’s CSF, ECF No. 136-

 13).    The autopsy report also stated that the “Taser deployment

 [was] ineffective according to police reports.”          (Id.)   Dr. Happy

 provided a Declaration stating that “there was no indication or

 evidence that Haleck suffered from Taser related injuries.”

 (Declaration of Dr. Happy, attached to Def. Honolulu’s CSF, ECF

 No. 136-4).

        Plaintiff provided an expert report from Richard Lichten, a

 law enforcement specialist.       (Lichten Report attached as Ex. B to

 Pla.’s CSF, ECF No. 147-1).       Lichten stated in his Report that he

 reviewed the autopsy photographs and saw evidence of small red

 wounds called “erythema,” which are consistent with the wounds

 caused by Taser probes.      (Id. at pp. 10-11).


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       The Parties dispute the reason Haleck fell to the ground,

 allowing Officers to seize him.       Plaintiff asserts that Haleck

 fell because of the Taser triggered by Officer Chung.           The

 Defendant Officers claim that Haleck tripped.         (Critchlow Depo.

 at p. 54, ECF No. 196-5; Kardash Depo. at p. 45, ECF No. 196-6).

       The genuine disputes of fact regarding the use and

 effectiveness of the Taser prevent the Court from entering

 summary judgment for either party.        The facts as to the use of

 force must be balanced by the government interest.          With disputed

 facts as to the use of force in this case, summary judgment is

 inappropriate.     Santos v. Gates, 287 F.3d 846, 854 (9th Cir.

 2002) (explaining that summary judgment is impermissible in

 excessive force cases where there are material disputes of fact).


             2.   Governmental Interest


       Courts examine three main factors when evaluating the

 governmental interest in the use of force:

       (1)   whether the suspect poses an immediate threat to the
             safety of the officers or others;

       (2)   the severity of the crime at issue; and,

       (3)   whether the suspect actively resists detention or
             attempts to escape.

       Liston, 120 F.3d at 968; McPherson, 630 F.3d at 825.            The

 list of factors to be examined by the court is non-exhaustive.

 In addition to the three main factors, courts examine the


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 totality of the circumstances and whatever specific factors may

 be appropriate in a particular case.        Franklin v. Foxworth, 31

 F.3d 873, 876 (9th Cir. 1994).


                  (a)   Immediate Threat to the Safety of the
                        Officers and Others


       The most important factor concerning the governmental

 interest is whether the suspect posed an “immediate threat to the

 safety of the officers or others.”        Smith v. City of Hemet, 394

 F.3d 689, 702 (9th Cir. 2005).       A statement by an officer that he

 subjectively feared for his safety or the safety of others is

 insufficient, there must be objective factors to justify such a

 concern.    Mattos, 661 F.3d at 441-42 (citing Deorle v.

 Rutherford, 272 F.3d 1272, 1281 (9th Cir. 2001)).

       Haleck’s presence in a busy street, at night, is central to

 the question of danger to the officers and others.          The disputes

 of fact as to the severity of the threat prevent summary judgment

 for any of the Parties on this claim.

       The Ninth Circuit Court of Appeals has explained that

 summary judgment should be granted sparingly in excessive force

 cases because the reasonableness inquiry for such a claim “nearly

 always requires a jury to sift through disputed factual

 contentions, and to draw inferences therefrom.”          Santos, 287 F.3d

 at 853 (citing Liston, 120 F.3d at 976 n.10).

       Summary judgment is not appropriate considering the genuine

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 disputes of fact as to the immediate threat to the safety to the

 Defendant Officers and others.       There are disputes of fact as to

 other matters as well.


                  (b)   Severity of the Crime At Issue


       The Ninth Circuit Court of Appeals held in Velazquez v. City

 of Long Beach, 793 F.3d 1010, 1026 (9th Cir. 2015), that an

 excessive force analysis takes into account the facts known to

 the police at the time of the arrest with respect to the alleged

 offense that triggered the arrest.        The severity of the crime

 factor is diminished as a justification for the use of force

 where officers are presented with circumstances indicating that

 no crime, or a minor crime was committed.         Id. at 1025; Nelson,

 685 F.3d at 880.

       Haleck was arrested for a charge of disorderly conduct.

 (Critchlow Depo. at pp. 67-68, ECF No. 196-5).          The Parties

 dispute if there was a basis to arrest Haleck for a more severe

 crime.   An issue of fact remains concerning the level of force

 used by the Defendant Officers.       The question is: was the level

 of force objectively reasonable in light of the totality of the

 circumstances?

                  (c)   Resistance or Attempt to Escape


       There are also disputes of fact as to the level of

 resistance made by Haleck.

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       The Defendant Officers testified that after Haleck fell to

 the ground, he resisted his arrest by reportedly “flailing,”

 “squirming,” and “kicking.”       (Critchlow Depo. at p. 57, ECF No.

 196-5).

       The Ninth Circuit Court of Appeals has explained that, in

 cases where officers are involved in deadly incidents, and the

 officers and the decedent are the only witnesses, courts must

 carefully examine all the evidence in the record.          Cruz v. City

 of Anaheim, 765 F.3d 1076, 1079 (9th Cir. 2014).          It is necessary

 to determine if the officers’ stories are internally consistent

 and consistent with other known facts.        Id.

       The Parties agree that there was some level of resistance by

 Haleck.   There is no dispute that Haleck repeatedly refused to

 comply with the Officers’ instructions to move to the sidewalk.

 Haleck ran away from the Officers and evaded seizure.

       Genuine disputes of material fact remain which prevent an

 objective assessment of the use of force in the totality of the

 circumstances.     The Parties do not agree on the facts as to how

 Haleck was ultimately restrained.        The Parties dispute the cause

 of Haleck’s fall.     There is disagreement between the Parties’

 experts as to the use and effectiveness of the Taser.           The

 genuine disputes of material facts prevent the Court from

 granting summary judgment.




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       E.    Qualified Immunity


       Defendant Officers Chung, Critchlow, and Kardash argue that

 they are immune from liability as to the excessive force claim.

       The doctrine of qualified immunity shields public officials

 from personal liability when performing discretionary functions,

 unless their conduct violates a statutory or constitutional right

 that was clearly established at the time of the challenged

 conduct.    Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011).           A

 constitutional right is clearly established when every reasonable

 official would have understood that what he is doing violates

 that right.    Id. at 741; see Bremerton, 268 F.3d at 651.

       The determination whether a right was clearly established

 must be undertaken in light of the specific context of the case,

 not as a broad general proposition.        Pearson v. Callahan, 555

 U.S. 223, 232 (2009).      The inquiry is case specific but it is not

 so narrowly defined to preclude any potential claims without

 identical fact patterns.      Kelly v. Borg, 60 F.3d 664, 667 (9th

 Cir. 1995).

       The United States Supreme Court has explained that officials

 can be on notice that their conduct violates established law even

 in novel factual situations.       Hope v. Pelzer, 536 U.S. 730, 741

 (2002).    A plaintiff need not establish that the officers’ exact

 behavior had been previously declared unconstitutional, only that

 the unlawfulness of their actions was apparent in light of

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 preexisting law.     Jensen v. City of Oxnard, 145 F.3d 1078, 1085

 (9th Cir. 1998).

       Qualified immunity is an affirmative defense and the burden

 of proof initially lies with the official asserting the defense.

 Harlow v. Fitzgerald, 457 U.S. 800, 818-19 (1987).          A plaintiff

 seeking summary judgment on an excessive force claim, however,

 must prove both that there was a constitutional violation and

 that the right was clearly defined.        See Morales v. City of

 Delano, 852 F.Supp.2d 1253, 1267 (E.D. Cal 2012) (citing Mueller

 v. Auker, 576 F.3d 979, 989 (9th Cir. 2009)).

       Here, the question of whether the Defendant Officers’

 conduct violated a clearly established constitutional right turns

 on issues of fact that are in dispute.

       Plaintiff relies on Mattos v. Agarano, 661 F.3d 433 (9th

 Cir. 2011) for the position that it has been clearly established

 in the Ninth Circuit Court of Appeals that the use of a Taser may

 constitute excessive force in certain circumstances.           The two

 fact patterns in Mattos are not similar to the fact in this case

 and do not assist the Plaintiff.

       The use of pepper spray may also constitute excessive force,

 depending on the facts of the case.        Headwaters Forest Def. v.

 Cnty. of Humboldt, 276 F.3d 1125, 1131 (9th Cir. 2002); LaLonde

 v. Cnty. of Riverside, 204 F.3d 947, 960-61 (9th Cir. 2000).

       The extent to which the law is “clearly established” in the


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 Fourth Amendment reasonableness context is fact-specific.

 Gravelet-Blondin v. Shelton, 728 F.3d 1086, 1093 n.6 (9th Cir.

 2013).    The material disputes of fact here do not permit a

 finding of summary judgment as to the issue of qualified

 immunity.

       There are questions of fact as to the use and effectiveness

 of the Taser triggered by Officer Chung.         There are questions as

 to the extent that Haleck posed a threat to the Officers and

 others.    There is also a question about the immediacy and level

 of threat the traffic on South King Street posed during the

 incident.    See Cruz, 765 F.3d at 1079.

       The Ninth Circuit Court of Appeals has found police officers

 are not entitled summary judgment on the basis of qualified

 immunity when there are disputes of fact that could lead a jury

 to find in favor of the plaintiff.        Ortega v. San Diego Police

 Dept., 669 Fed. Appx. 922, 923 (9th Cir. 2016).

       Plaintiff Silva’s Amended Motion for Partial Summary

 Judgment as to the First Cause of Action in the Second Amended

 Complaint is DENIED.

       Defendant Officers Chung, Critchlow, and Kardash’s Amended

 Motion for Summary Judgment as to the First Cause of Action in

 the Second Amended Complaint stated by Plaintiff Gulstan E.

 Silva, Jr., as Personal Representative of the Estate of Sheldon

 Paul Haleck, is DENIED.


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       The Excessive Force Claim stated by Plaintiffs Jessica Y.

 Haleck, individually and as Guardian Ad Litem for Jeremiah M.V.

 Haleck, William E. Haleck, and Verdell B. Haleck is DENIED, as a

 matter of law.

       The First Cause of Action for Excessive Force in Violation

 of the Fourth Amendment to the United States Constitution

 Pursuant to 42 U.S.C. § 1983 stated by Plaintiff Gulstan E.

 Silva, Jr., as Personal Representative of the Estate of Sheldon

 Paul Haleck, against Defendants Christopher Chung, Samantha

 Critchlow, and Stephen Kardash in their individual capacities

 remains for trial.




 SECOND CAUSE OF ACTION:      Violations of the Due Process Clause of
                              the Fourteenth Amendment to the United
                              States Constitution Pursuant to 42
                              U.S.C. § 1983 Stated by All Plaintiffs
                              Against the Defendant Officers Chung,
                              Critchlow, and Kardash


       Plaintiff Gulstan E. Silva, Jr., as Personal Representative

 of the Estate of Sheldon Haleck, and Jessica Y. Haleck,

 individually and as Guardian Ad Litem for Jeremiah M.V. Haleck,

 William E. Haleck, and Verdell B. Haleck, allege that Defendant

 Officers Chung, Critchlow, and Kardash violated their individual

 rights under the Fourteenth Amendment to the United States

 Constitution pursuant to 42 U.S.C. § 1983.         (Second Amended


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 Complaint at pp. 12-13, ECF No. 189).


       A.    Standing


       The Ninth Circuit Court of Appeals has recognized that

 family members have a Fourteenth Amendment liberty interest in

 familial companionship and society.        Wilkinson v. Torres, 610

 F.3d 546, 554 (9th Cir. 2010); Tokuda v. Calio, Civ. No. 13-

 0202DKW-BMK, 2014 WL 5580959, *9 (D. Haw. Oct. 31, 2014).

       Plaintiff Gulstan E. Silva, Jr., as the Personal

 Representative of the Estate of Sheldon Haleck, may not bring a

 Fourteenth Amendment claim where the estate’s claims are more

 specifically covered by the Fourth Amendment.         Burns v. City of

 Concord, 2014 WL 5794629, *8 (N.D. Cal. Nov. 6, 2014).

       Plaintiff Gulstan E. Silva, Jr.’s Amended Motion for Partial

 Summary Judgment as to the Second Cause of Action is DENIED.

       Plaintiffs Jessica Y. Haleck, individually and as Guardian

 Ad Litem of Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck have standing to pursue their Fourteenth Amendment

 claims for their personal liberty interests as alleged family

 members of the decedent.


       B.    Due Process


       Parents and children of a person killed by law enforcement

 officers may assert a substantive due process claim based on the


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 deprivation of their liberty interest arising out of their

 relationship with the deceased.       Moreland, 159 F.3d at 371.       A

 substantive due process violation requires that law enforcement

 officers’ conduct “shock the conscience” when responding to an

 emergency or an escalating situation.        Porter v. Osborn, 546 F.3d

 1131, 1137 (9th Cir. 2008).

       Plaintiffs must prove that the purpose of the Defendant

 Officers’ conduct in using the pepper spray and the Taser was “to

 cause harm unrelated to the legitimate object of arrest.”            Id. at

 1140 (citing Cnty of Sacramento v. Lewis, 523 U.S. 833, 836

 (1998)).

       The United States Supreme Court has held that a purely

 reactive decision to give chase or use force to seize a suspect

 does not shock the conscience.       Lewis, 523 U.S. at 855.

 Situations that shock the conscience are “rare situations where

 the nature of an officer’s deliberate physical contact is such

 that a reasonable factfinder would conclude that the officer

 intended to harm, terrorize, or kill.”        Porter, 546 F.3d at 1141

 (citing Davis v. Township of Hillside, 190 F.3d 167, 174 (3d Cir.

 1999)).

       In Moreland v. Las Vegas Metro. Police Dept., 159 F.3d 365,

 368 (9th Cir. 1998), two officers responded to a dispatch call of

 a fight outside a bar.      The officers arrived at the scene to see

 a male firing a semiautomatic handgun at a group of individuals


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 across the parking lot who were returning fire.          Id.    There were

 between 50 and 100 people trapped in the crossfire.            Id.   The

 officers fired at the male when he failed to comply with their

 orders to stop.     Id.   After the shooting ceased, the officers

 discovered they had shot an alleged innocent standby who later

 died.   Id.

       The mother and children of the victim sued the officers

 under the Fourteenth Amendment.       Id. at 371-72.     The Ninth

 Circuit Court of Appeals found that the mother and children were

 unable to prevail on the Fourteenth Amendment claim because there

 was no evidence that the police officers intended to punish the

 victim in a way that was unrelated to a legitimate law

 enforcement objective.      Id. at 373.    The appellate court

 explained that even if the officers acted recklessly or with

 gross negligence in shooting into the parking lot, the officers

 did not act in a way that shocks the conscience.          Id.

       In this case, there is no dispute that actions of the police

 officers occurred during an escalating situation within minutes

 of arriving at a scene in the middle of a busy road in Downtown

 Honolulu.

       There is no evidence that Defendant Officers Chung,

 Critchlow, or Kardash had any intent to inflict pain, terrorize,

 harm, or kill the decedent Haleck in a way that was unrelated to

 any legitimate law enforcement objective.         The deposition


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 testimony of the Officers indicates that they were each intending

 to perform their legitimate law enforcement duties.

       The Parties agree that Haleck repeatedly failed to comply

 with the Officers’ orders to move to the sidewalk.          Haleck ran

 from the Officers and evaded the Officers’ attempts to seize him.

 There is no evidence that the Officers’ use of the pepper spray

 and the Taser was used for a purpose other than to try to seize

 Haleck pursuant to their law enforcement duties.

       Regardless of whether the Officers’ amount of force was

 reasonable, the actions of the Officers, construed in the light

 most favorable to the Plaintiffs, does not demonstrate a purpose

 to cause harm that would “shock the conscience.”          Moreland, 159

 F.3d at 373; see Wilkinson, 610 F.3d at 554 (finding an officer’s

 actions did not shock the conscience when he shot and killed the

 driver of crashed minivan after a high speed chase as there was

 no evidence that the officer used force that was unrelated to a

 legitimate law enforcement objective).

       There is no evidence to support a due process violation

 pursuant to the Fourteenth Amendment to the United States

 Constitution against the Defendant Officers.

       Plaintiffs Jessica Y. Haleck, individually and as Guardian

 Ad Litem for Jeremiah M.V. Haleck, William E. Haleck, and Verdell

 B. Haleck’s Amended Motion for Partial Summary Judgment as to the

 Second Cause of Action in the Second Amended Complaint is DENIED.


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       Defendant Officers Chung, Critchlow, and Kardash’s Amended

 Motion for Summary Judgment as to the Second Cause of Action in

 the Second Amended Complaint is GRANTED.




 THIRD CAUSE OF ACTION:       Municipal and/or Supervisor Liability
                              Pursuant to 42 U.S.C. § 1983 Stated by
                              All Plaintiffs Against Defendants City
                              and County of Honolulu and Louis M.
                              Kealoha


       Plaintiffs allege Defendant City and County of Honolulu and

 Defendant Louis M. Kealoha, former police chief of the Honolulu

 Police Department, are liable for constitutional violations of

 Sheldon Haleck’s rights under theories of supervisor and

 municipal liability pursuant to 42 U.S.C. § 1983.          (Second

 Amended Complaint at pp. 13-14, ECF No. 189).


       A.    Defendant City and County of Honolulu


       Respondeat superior or vicarious liability is not available

 under Section 1983.     Tokuhama v. City and City of Honolulu, 751

 F.Supp. 1385, 1394 (D. Haw. 1989) (citing City of Canton v.

 Harris, 489 U.S. 378, 385 (1989)).

       The United States Supreme Court has held, however, that a

 municipality is subject to damages liability under Section 1983

 where action pursuant to official municipal policy causes a



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 constitutional tort.     Monell v. Dept. of Soc. Servs., 436 U.S.

 658, 694 (1978).     Such claims are often referred to as Monell

 claims.    The municipality itself must cause the constitutional

 deprivation in order to be liable for such a claim.          Id.; Canton,

 489 U.S. at 385 (requiring a direct causal link between a

 municipal policy or custom and the alleged constitutional

 deprivation).

        A municipality may be liable in a Section 1983 action under

 two theories.    Under the first theory, a municipality is liable

 for injuries caused by a municipality’s unconstitutional policy

 or custom.    Monell, 436 U.S. at 694; Webb v. Sloan, 330 F.3d

 1158, 1164 (9th Cir. 2003).       The official policy or custom

 requirement limits municipal liability to actions in which the

 municipality is actually responsible for the unconstitutional

 act.    Young v. Hawaii, 911 F.Supp.2d 972, 985 (D. Haw. 2012);

 Pembaur v. City of Cincinnati, 475 U.S. 469, 479-80 (1986).

        The second action for which a municipality may be held

 liable under Section 1983 is for failure to train, supervise, or

 discipline its employees.      Canton, 489 U.S. at 387.      Municipal

 liability may be imposed when “the need for more or different

 training is so obvious, and the inadequacy so likely to result in

 the violation of constitutional rights, that the policymakers of

 the city can reasonably be said to have been deliberately

 indifferent to the need.”      Id. at 390.


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       Here, Plaintiffs do not argue that the Honolulu Police

 Department had an unconstitutional policy or custom.           Plaintiffs

 cite to the written policies for use of force and the use of the

 Taser.   (Honolulu Police Department Policy 1.04 for Use of Force,

 attached as Ex. I to Pla.’s CSF, ECF No. 147-5; Honolulu Police

 Department Policy 1.15 for Use of Electric Gun, attached as Ex. J

 to Pla.’s CSF, ECF No. 147-6).       Plaintiffs claim that the

 Honolulu Police Department’s written policies correctly classify

 the use of pepper spray and the use of a Taser as intermediate

 types of force.

       Plaintiffs argue, however, that Defendant Officers Chung,

 Critchlow, and Kardash were inadequately trained and supervised

 with respect to the use of pepper spray and the use of a Taser.

 Plaintiffs also argue that the Defendant Officers were not

 properly disciplined because they were never interviewed by

 anyone from Internal Affairs or the Police Commission and were

 not disciplined in connection with the March 16, 2015 incident.


             1.    Failure to Train


       Liability may only be imposed for failure to train when that

 failure reflects a deliberate or conscious choice by a

 municipality.    Canton, 489 U.S. at 389.      Deliberate indifference

 in the municipal context is an objective standard.          Castro v.

 Cnty. of Los Angeles, 833 F.3d 1060, 1076 (9th Cir. 2016).


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 Deliberate indifference may be shown through a pattern of

 tortious conduct by inadequately trained employees or where a

 violation of federal rights may be a highly predictable

 consequence of a failure to equip law enforcement with specific

 tools to handle recurring situations.        Bd. of Cnty. Comm’rs v.

 Brown, 520 U.S. 397, 407-09 (1997).

       Construing the record in the light most favorable to the

 Plaintiffs, they have not demonstrated that the Defendant City

 and County of Honolulu had actual or constructive notice that its

 officer training was deficient.

       The Defendant City and County of Honolulu submitted an

 expert report from John G. Peters, Jr., Ph.D., stating that it is

 his opinion that the City and County of Honolulu “met and/or

 exceeded national standards, recommendations, and/or guidelines

 for the development of policies and procedures for their

 officers” including training and lesson plans on the use of force

 and the use of a Taser “that meet or exceed lesson plan standards

 for career and technical training and testing of law enforcement

 officers.”    (Declaration of John G. Peters, Jr., Ph.D., attached

 to Honolulu’s CSF, ECF No. 136-6; Expert Report of John G.

 Peters, Jr., Ph.D., attached as Ex. E to Honolulu’s CSF, ECF No.

 136-17).

       The Defendant City and County of Honolulu submitted the

 Declaration of Brandon Ogata, a Lieutenant at the Honolulu Police


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 Department Training Division.       (Declaration of Brandon Ogata,

 attached to Honolulu’s CSF, ECF No. 149-1).         Lieutenant Ogata

 stated that Officers Chung, Critchlow, and Kardash each received

 training at the Honolulu Police Department’s Recruit Training

 Course and continue to attend Annual Recall Training.           (Id. at ¶¶

 9, 12).   Lieutenant Ogata stated that Officer Chung was properly

 trained, certified, and authorized to carry and use the Taser on

 March 16, 2015.     (Id. at ¶¶ 11, 22).

       A pattern of constitutional violations by untrained

 employees is ordinarily necessary to demonstrate deliberate

 indifference for purposes of failure to train.          Connick v.

 Thompson, 563 U.S. 51, 62 (2011).        There is no such evidence

 presented by the Plaintiffs.       Plaintiffs have alleged there was

 one incident where an officer was disciplined in 2013 involving

 the use of a Taser.     (Pla.’s Reply at p. 7, ECF No. 216; News

 Report from KHON2 dated March 11, 2014, attached as Ex. L to

 Pla.’s Opp., ECF No. 155-3).

       Plaintiffs’ allegation of one discrete incident is

 insufficient to put the City and County on notice that its course

 in training is insufficient in a particular respect.           Flores v.

 Cnty. of Los Angeles, 758 F.3d 1154, 1159-61 (9th Cir. 2014).

 Plaintiffs have not demonstrated that this is one of the narrow

 range of cases where it was “patently obvious” that the

 Defendant’s training program was insufficient.          Kirkpatrick v.


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 Cnty. of Washoe, 843 F.3d 784, 794 (9th Cir. 2016) (en banc).

 Plaintiffs claim to be awaiting additional discovery as to the

 City and County’s records of incidents involving Tasers, but they

 have not supplemented their briefing and have not filed any

 Motion with the Court as to any outstanding discovery requests.

 The Defendant City and County of Honolulu denies that any

 discovery remains outstanding.

       Even if Plaintiffs demonstrated that the Defendant City and

 County had notice as to its failure to train, there is no

 evidence that the Defendant City and County was deliberately

 indifferent.     Plaintiffs have not provided any evidence that the

 Defendant City and County of Honolulu was aware of incidents

 where constitutional rights were violated and that it made a

 conscious choice to ignore the incidents.         Blankenhorn v. City of

 Orange, 485 F.3d 463, 484-85 (9th Cir. 2007).


             2.    Failure to Discipline


       There is similarly no basis for a Monell claim based on the

 failure to discipline.

       In this case, the Honolulu Police Department engaged in an

 administrative review of the incident involving Haleck on March

 16, 2015.    (Report of Administrative Review of Critical Incident

 Involving Officer Christopher G. Chung at p. 1, attached as Ex. F

 to Pla.’s CSF, ECF No. 147-2).


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       On August 20, 2015, the Honolulu Police Department’s

 Administrative Review Board convened, reviewed the report issued

 by the Professional Standards Office, and recommended a finding

 that no further action be taken against Officer Chung.

 (Declaration of Dave M. Kajihiro, former Deputy Chief of Police

 and Chair of the Administrative Review Board, (“Kajihiro Decl.”)

 at ¶ 5, ECF No. 136-9).

       The Chair of the Administrative Review Board prepared a

 memorandum as to its findings to former Police Chief Louis M.

 Kealoha.    (Memorandum as to Officer Chung dated August 20, 2015,

 attached as Ex. G to Pla.’s CSF, ECF No. 147-2).

       On September 1, 2015, Officer Chung received a notice from

 the Honolulu Police Department’s Human Resources Division that

 the Professional Standards Office and the Administrative Review

 Board found that his actions surrounding the incident on March

 16, 2015 were within acceptable parameters.         (Notice of

 Disposition of Administrative Review dated September 1, 2015,

 attached as Ex. H to Pla.’s CSF, ECF No. 147-4).

       Plaintiffs may not prevail on their claim solely on the

 basis that they believe the Defendant Officers should have been

 disciplined.    Decisions in this District have emphasized that

 something more than the failure to reprimand is required to

 prevail on a Monell claim.      Kanae v. Hodson, 294 F.Supp.2d 1179,

 1190-91 (D. Haw. 2003); Long v. City and Cnty. of Honolulu, 378


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 F.Supp.2d 1241, 1248-49 (D. Haw. 2005).

       Plaintiffs have not provided evidence that the

 administrative review process is futile or that it is nearly

 impossible for an officer to be disciplined.         Kanae, 294

 F.Supp.2d at 1190.     Plaintiffs’ expert opinion that is in

 disagreement with the conclusion of the Honolulu Police

 Department’s Administrative Review Board is insufficient to

 create a triable issue of fact for the jury.         Long, 378 F.Supp.2d

 at 1248-49.

       Plaintiffs have not established a Section 1983 Monell claim

 against the Defendant City and County of Honolulu.

       Plaintiffs’ Amended Motion for Partial Summary Judgment as

 to the Third Cause of Action in the Second Amended Complaint, as

 stated against the Defendant City and County of Honolulu, is

 DENIED.

       Defendant City and County of Honolulu’s Amended Motion for

 Summary Judgment as to the Third Cause of Action in the Second

 Amended Complaint is GRANTED.


       B.    Defendant Kealoha


       Plaintiffs seek to bring a Section 1983 supervisor liability

 claim against Defendant Louis M. Kealoha as former Chief of

 Police of the Honolulu Police Department.




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             1.    Failure to Supervise


        A supervisor is liable under Section 1983 for a

 subordinate’s constitutional violations if the supervisor

 participated in or directed the violations, or knew of the

 violations and failed to act to prevent them.         Maxwell v. Cnty.

 of San Diego, 708 F.3d 1075, 1086 (9th Cir. 2013) (citing Taylor

 v. List, 880 F.2d 1040, 1045 (9th Cir. 1989)) (internal quotation

 marks omitted).

       Defendant Kealoha was not present at the March 16, 2015

 incident.    There is no evidence that he participated in or

 directed the alleged violations.         Corales v. Bennett, 567 F.3d

 554, 570 (9th Cir. 2009).

       Plaintiffs have also not provided any evidence that

 Defendant Kealoha was personally involved in the hiring or

 training of Defendant Officers Chung, Critchlow, and Kardash.

 Plaintiffs have not provided any evidence that Defendant

 Kealoha’s own actions or failure to act caused the alleged

 constitutional violations in this case.         Dang v. City of Garden

 Grove, 2011 WL 3419609, *10 (C.D. Cal. Aug. 2, 2011) (granting

 summary judgment in favor of the Chief of Police where there was

 no evidence of the Chief’s role in either providing inadequate

 training of use of a Taser).




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             2.   Ratification of Officers’ Actions


       Beginning on March 18, 2015, the Honolulu Police Department

 conducted an internal investigation of the March 16, 2015

 incident involving Sheldon Haleck.        (Report of Administrative

 Review of Critical Incident Involving Officer Christopher G.

 Chung at p. 1, attached as Ex. F to Pla.’s CSF, ECF No. 147-2).

       On August 20, 2015, the Chair of the Honolulu Police

 Department’s Administrative Review Board prepared a memorandum as

 to its findings regarding the incident to Defendant Kealoha.

 (Memorandum as to Officer Chung dated August 20, 2015, attached

 as Ex. G. to Pla.’s CSF, ECF No. 147-3).         Defendant Kealoha

 concurred with the Board’s findings that Officer Chung’s use of

 the Taser was within acceptable parameters.         (Notice of

 Disposition of Administrative Review dated September 1, 2015,

 attached as Ex. H to Pla.’s CSF, ECF No. 147-4).

       Plaintiffs claim that Defendant Kealoha is liable as a

 supervisor under Section 1983 because he concurred with the

 Honolulu Police Department’s Administrative Review Board’s

 finding.

       Even construing the record in Plaintiffs’ favor and assuming

 that the use of force was not permissible, Plaintiffs have failed

 to provide evidence to support a claim against Defendant Kealoha.

       In order to prevail on a Monell claim based on ratification,

 Plaintiffs must show the supervisor made a conscious, affirmative

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 choice to ratify a constitutional violation that is tantamount to

 confirmation of an official policy.        Tokuda, 2014 WL 5580959, at

 *14; see Christie v. Iopa, 176 F.3d 1231, 1239 (9th Cir. 1999);

 Trevino v. Gates, 99 F.3d 911, 920 (9th Cir. 1996).

       Defendant Kealoha is only sued in his individual capacity,

 and not in his official capacity as former Chief of Police of the

 Honolulu Police Department.       An individual’s private actions

 cannot constitute an official policy or constitute official

 actions for purposes of municipal liability pursuant to a Monell

 claim under Section 1983.      Jones v. Town of Quartzsite, 2014 WL

 4771851, *12 (D. Ariz. Sept. 24, 2014) (citing Rivera v. Cnty. of

 Los Angeles, 745 F.3d 384, 389 (9th Cir. 2014)).

       To the extent Plaintiffs may bring a Section 1983 claim

 against Defendant Kealoha in his individual capacity, there is no

 evidence that Defendant Kealoha deliberately chose to endorse the

 actions of Officer Chung.      Gillette v. Delmore, 979 F.2d 1342,

 1348 (9th Cir. 1992).      A mere failure to overrule the

 unconstitutional, discretionary acts of a subordinate, without

 expressing clear endorsement or approval of unlawful conduct, is

 insufficient for the imposition of supervisor liability under

 Section 1983.    Id.

       Defendant Kealoha cannot be found to have ratified the

 allegedly unconstitutional conduct by merely signing off on the

 Administrative Board’s finding.       Courts have found that there


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 must be “something more than the mere evidence that a policymaker

 concluded that the defendant officer’s actions were in keeping

 with the applicable policies and procedures.”         Tokuda, 2014 WL

 5580959, *14 (citing Garcia v. City of Imperial, 2010 WL 3911457,

 at *2-*3 (S.D. Cal. 2010); Kanae, 294 F.Supp.2d at 1190-91; and

 Larez v. City of Los Angeles, 946 F.2d 630, 646-48 (9th Cir.

 1991) (internal quotation marks omitted)).         In addition, there is

 no evidence that Defendant Kealoha’s ratification was the cause

 of any alleged constitutional violation.         Long, 378 F.Supp.2d at

 1248-49; Booke v. Cnty. of Fresno, 98 F.Supp.3d 1103, 1130 (E.D.

 Cal. 2015).

       Plaintiffs have not established a Section 1983 Monell claim

 against Defendant Kealoha.

       Plaintiffs’ Amended Motion for Partial Summary Judgment as

 to the Third Cause of Action in the Second Amended Complaint, as

 stated against Defendant Kealoha, is DENIED.

       Defendant Kealoha’s Motion for Summary Judgment as to the

 Third Cause of Action in the Second Amended Complaint is GRANTED.



 FOURTH CAUSE OF ACTION:      Assault and Battery stated by all
                              Plaintiffs against Defendant Officers
                              Chung, Critchlow, and Kardash

 FIFTH CAUSE OF ACTION:       Intentional Infliction of Emotional
                              Distress stated by all Plaintiffs
                              against Defendant Officers Chung,
                              Critchlow, and Kardash


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 SIXTH CAUSE OF ACTION:       Negligence stated by all Plaintiffs
                              against Defendant Officers Chung,
                              Critchlow, and Kardash

 SEVENTH CAUSE OF ACTION: Negligent Infliction of Emotional
                          Distress stated by all Plaintiffs
                          against Defendant Officers Chung,
                          Critchlow, and Kardash


       Plaintiffs Gulstan E. Silva, Jr., as Personal Representative

 of the Estate of Sheldon Paul Haleck, and Jessica Y. Haleck,

 individually and as Guardian Ad Litem for Jeremiah M.V. Haleck,

 William E. Haleck, and Verdell B. Haleck have alleged state tort

 law claims in Causes of Action 4-7 against Defendant Officers

 Chung, Critchlow, and Kardash.

       Plaintiffs do not allege Causes of Action 4-7 against the

 Defendant City and County of Honolulu and Defendant Kealoha.

       Under Hawaii law, non-judicial government officials acting

 in the performance of their public duties enjoy a “qualified or

 conditional privilege.”      Towse v. State, 647 P.2d 696, 702 (Haw.

 1982).   The privilege protects the official from liability for

 tortious acts unless the injured party demonstrates by “clear and

 convincing proof” that the official was motivated by “malice and

 not by an otherwise proper purpose.”        Id.   For torts other than

 defamation, actual malice must be proven to overcome the

 privilege.    Wereb v. Cnty. of Maui, 727 F.Supp.2d 898, 924 (D.

 Haw. 2010).

       “Actual malice” for purposes of the conditional privilege is


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 construed in its ordinary and usual sense to mean “the intent,

 without justification or excuse, to commit a wrongful act,

 reckless disregard of the law or of a person’s legal rights, and

 ill will; wickedness of heart.”       Awakuni v. Awana, 165 P.3d 1027,

 1042 (Haw. 2007).

       Plaintiffs are unable to prevail on their negligence causes

 of action in Causes of Action 6 and 7.        Plaintiffs must prove

 that the Defendant Officers acted with “actual malice” in order

 to overcome conditional privilege.        The element of actual malice

 required to overcome a conditional privilege is “incompatible

 with a claim based on negligence.”        Dawkins v. City and Cnty. of

 Honolulu, 2011 WL 1598788, *15 (D. Haw. Apr. 27, 2011); Bartolome

 v. Kashimoto, 2009 WL 1956278, at *2 (D. Haw. 2009); see Tagawa

 v. Maui Pub. Co., 448 P.2d 337, 341 (Haw. 1968).

       With respect to the remaining tort claims of assault and

 battery and intentional infliction of emotional distress,

 Plaintiffs have not pointed to any evidence that Officers Chung,

 Critchlow, or Kardash were motivated by malice.          Carroll v. Cnty.

 of Maui, Civ. No. 13-00066DKW-KSC, 2015 WL 1470732, *7 (D. Haw.

 Mar. 31, 2015).     Officers Chung, Critchlow, and Kardash are

 entitled to conditional privilege as to Plaintiffs’ state law

 tort claims.    Tokuda, 2014 WL 5580959, *10 (granting summary

 judgment for a defendant police officer when there was no

 evidence in the record that the officer was motivated by malice).


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       Defendant Officers Chung, Critchlow, and Kardash’s Motion

 for Summary Judgment as to Causes of Action 4-7 in the Second

 Amended Complaint is GRANTED.




 EIGHTH CAUSE OF ACTION:      Interference with Civil Rights Stated by
                              All Plaintiffs Against Defendants City
                              and County of Honolulu and Louis M.
                              Kealoha


       Plaintiffs’ Eighth Cause of Action in their Second Amended

 Complaint is a claim for “interference with civil rights.”

 (Second Amended Complaint at p. 17, ECF No. 189).          Plaintiffs

 assert the Eighth Cause of Action against the Defendant City and

 County of Honolulu and Defendant Kealoha.

       The Eighth Cause of Action concerns the timing of the

 release of government records to Plaintiffs regarding the March

 16, 2015 incident.

       The Parties do not dispute the facts related to Plaintiffs’

 Eighth Cause of Action:

       On May 13, 2015, Plaintiffs’ Attorney sent a written request

 to the Defendant City and County of Honolulu for government

 records regarding the March 16, 2015 incident involving Haleck.

 (Letter from Attorney Seitz to Chief of Police dated May 13,

 2015, attached as Ex. H to Honolulu’s CSF, ECF No. 136-20).

       Two weeks later, on May 27, 2015, the Defendant City and



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 County of Honolulu informed Attorney Seitz that it was unable to

 disclose the records requested at that time because they were

 protected pursuant to Hawaii Revised Statutes Section 92F-13(3)

 and Section 92F-14.     (Letter from Defendant City and County of

 Honolulu to Attorney Seitz dated May 27, 2015, attached as Ex. I

 to Honolulu’s CSF, ECF No. 136-21).

       The Defendant City and County identified in their letter

 that disclosure of the records at that time was not appropriate

 because the requested documents were part of an ongoing

 investigation and were protected from release pending the outcome

 of the investigation.      (Id.)

       A month later, on June 30, 2015, the Honolulu Police

 Department’s Media Liaison Office released two copies of videos

 that showed the deployment of the Taser at decedent Haleck from

 the night of March 16, 2015 to news media outlets.          (Declaration

 of Sarah Yoro at ¶ 3, attached to Honolulu’s CSF, ECF No. 136-12;

 CD containing videos attached as Ex. K to Honolulu’s CSF, ECF No.

 136-23).    There is no evidence that the identity of Haleck as the

 individual in the video was released to the media.

       The next day, on July 1, 2015, media outlet KHON2 news

 reported partial results from the autopsy report of the decedent

 Haleck.    (KHON2 news article dated July 1, 2015, attached as Ex.

 N to Pla.’s Opp., ECF No. 155-5).

       Two weeks later, on July 13, 2015, the Defendant City and


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 County of Honolulu authorized the release of the entire autopsy

 report and a copy of the report was mailed to Plaintiffs’

 Attorney.     (Declaration of Chief Medical Examiner Dr. Christopher

 Happy at ¶¶ 22-23, attached to Honolulu’s CSF, ECF No. 136-4).             A

 copy of the autopsy report was also provided to a reporter for

 the Civil Beat and to Queen’s Medical Center.         (Id. at ¶¶ 27,

 29).

        Plaintiffs’ Eighth Cause of Action is premised on the idea

 that Plaintiffs did not receive the records they requested in a

 timely manner.     Plaintiffs requested the records on May 13, 2015,

 and they received the information two months later on July 13,

 2015, after the conclusion of the Defendant City and County of

 Honolulu’s investigation.

        There is no legal or factual basis for Plaintiffs’ cause of

 action.     Both the Defendant City and County of Honolulu and

 Defendant Kealoha are entitled to summary judgment in their favor

 as to Plaintiffs’ Eighth Cause of Action.


        A.    Claim as to Defendant City and County of Honolulu


        Plaintiffs have not articulated the legal basis for their

 Eighth Cause of Action based on the timing of the disclosures of

 the Taser videos and the autopsy report of Haleck.

        The Defendant City and County of Honolulu did not violate

 Plaintiffs’ rights.     It properly initially withheld the


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 information pursuant to two provisions in the Hawaii Uniform

 Information Practices Act, Hawaii Revised Statutes 92F-13 and

 92F-14.


             1.   Hawaii Uniform Information Practices Act


        The Hawaii Uniform Practices Act, codified at 92F-1 governs

 the release of government records to the public.          The Defendant

 City and County of Honolulu cited to the Act when it initially

 declined to provide Plaintiffs with information as to the March

 16, 2015 incident.     Hawaii Revised Statutes 92F-13(3), provides:

       This part shall not require disclosure of government
       records that, by their nature, must be confidential in
       order for the government to avoid the frustration of a
       legitimate government function.

       Hawaii Revised Statutes 92F-14 provides:

       (a)   Disclosure of a government record shall not
             constitute a clearly unwarranted invasion of
             personal privacy if the public interest in
             disclosure outweighs the privacy interest of the
             individual.

       (b)   The following are examples of information in which
             the individual has a significant privacy interest:

                  (1)   Information relating to medical,
                        psychiatric, or psychological history,
                        diagnosis, condition, treatment, or
                        evaluation, other than directory
                        information while an individual is
                        present at such facility;

                  (2)   Information identifiable as part of an
                        investigation into a possible violation
                        of criminal law, except to the extent
                        that disclosure is necessary to
                        prosecute the violation or to continue

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                        the investigation.

       Haw. Rev. Stat. 92F-14(a)-(b)(1)-(2).

       Plaintiffs have not provided any basis to find that the

 Defendant City and County of Honolulu violated either Haw. Rev.

 Stat. 92F-13 or 92F-14.      Neither of the statutes requires the

 dissemination of private material to the next of kin before its

 general release.

       Plaintiffs are unable to prevail on a claim pursuant to the

 Hawaii Uniform Information Practices Act.         Morgan v. Cnty. of

 Hawaii, Civ. No. 14-00551SOM-BMK, 2016 WL 1254222, *24 (D. Haw.

 Mar. 29, 2016) (granting summary judgment in favor of the county

 when there was no evidence that the defendant intentionally

 leaked protected privacy information to the local news media).


             2.   Conspiracy in Violation of 42 U.S.C. § 1985(3)


       Plaintiffs appear to allege that the Defendant City and

 County of Honolulu engaged in a private conspiracy to withhold

 the information from them.      Plaintiffs allege that it “impeded,

 hindered, and obstructed the due course of justice and denied

 Plaintiffs’ due process and equal protection of the laws” by

 “preventing Plaintiffs from receiving all requested information,

 covering up, and whitewashing the events of March 16, 2015, with

 selective public release of information and video recordings.”

 (Second Amended Complaint at ¶ 99, ECF No. 189).


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       Private conspiracies to deny any person or class of person

 the equal protection of the laws are covered by 42 U.S.C. §

 1985(3).     Bretz v. Kelman, 773 F.2d 1026, 1028-29 (9th Cir.

 1985).

       To prevail on a cause of action pursuant to Section 1985(3),

 a plaintiff must demonstrate:

       (1)    a conspiracy;

       (2)    to deprive any person or a class of persons of the
              equal protection of the laws, or of equal privileges
              and immunities under the laws;

       (3)    an act by one of the conspirators in furtherance of the
              conspiracy; and,

       (4)    a personal injury, property damage, or deprivation of
              any right or privilege of a citizen of the United
              States.

       Gillespie v. Civiletti, 629 F.2d 637, 641 (9th Cir. 1980)

 (citing Griffin v. Breckenridge, 403 U.S. 88, 101-03 (1971)).

       Plaintiffs here must show an invidiously discriminatory,

 racial, or class-based animus.       Bretz, 773 F.2d at 1029-30.

 There is no such evidence in this case.        There is no evidence as

 to any of the Plaintiffs’ race or class.         There is no evidence

 that any of the individuals responsible for disclosing the Taser

 videos or the autopsy report were motivated by discriminatory

 animus.     Orin v. Barclay, 272 F.3d 1207, 1217 (9th Cir. 2001);

 Bepple v. Shelton, 2016 WL 633892, *8 (D. Or. Feb. 17, 2016)

 (granting summary judgment for the defendant when there was no

 evidence of invidious class-based animus).

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       The public interest in the disclosure of the information

 relating to the police encounter with Haleck outweighed the

 privacy interest of the Plaintiffs.        The public concern as to the

 actions of police officers is given great weight when balanced

 against competing privacy interests.        See Peer News LLC v. City

 and Cnty. of Honolulu, 376 P.3d 1, 21 (Haw. 2016).          The public

 had a right to the information contained in the autopsy report

 and the videos from the Taser deployment.

       Defendant City and County of Honolulu’s Amended Motion for

 Summary Judgment as to the Eighth Cause of Action in the Second

 Amended Complaint is GRANTED.


       B.      Claim as to Defendant Kealoha


       Plaintiffs have presented no evidence that Defendant Kealoha

 participated in any way with the dissemination of any information

 either to them or the press involving the March 16, 2015

 incident.

       There is no evidence that Defendant Kealoha participated in,

 prepared, reviewed, or approved the press release dated March 17,

 2015.      (Declaration of Metropolitan Police Captain Rade K. Vanic

 at ¶¶ 4, 5, attached to Honolulu’s CSF, ECF No. 136-11).

       There is no evidence that Defendant Kealoha was involved in

 preparing, reviewing, or approving the May 27, 2015 letter to

 Attorney Seitz that initially declined to release information


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 regarding the March 16, 2015 incident.        (Declaration of Major

 Cylde K. Ho at ¶ 6, attached to Honolulu’s CSF, ECF No. 136-10).

       There is no evidence that Defendant Kealoha was involved

 with, participated in, prepared, or released the videos to the

 media on June 30, 2016.      (Yoro Decl. at ¶ 4, ECF No. 136-12).

       There is no evidence that Defendant Kealoha was involved in

 the release of the autopsy report.        (Dr. Happy Decl. at ¶¶ 18-29,

 ECF No. 136-4).

       To the extent Plaintiffs attempt to bring a conspiracy claim

 against Defendant Kealoha either pursuant to 42 U.S.C. §§ 1985(2)

 or 1985(3), Plaintiffs have not presented evidence of any

 discriminatory animus toward them on behalf of Defendant Kealoha.

 Bretz, 773 F.2d at 1029-30; Orin, 272 F.3d at 1217.

       Defendant Kealoha’s Motion for Summary Judgment as to the

 Eighth Cause of Action in the Second Amended Complaint is

 GRANTED.


                                 CONCLUSION


       Defendant Louis M. Kealoha’s Motion for Summary Judgment

 (ECF No. 193) is GRANTED.

       Plaintiffs’ Amended Motion for Partial Summary Judgment (ECF

 No. 195) is DENIED.

       Defendant City and County of Honolulu’s Amended Motion for

 Summary Judgment (ECF No. 199) is GRANTED.


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       Defendant Officers Christopher Chung, Samantha Critchlow,

 and Stephen Kardash’s Amended Motion for Summary Judgment (ECF

 No. 200) is GRANTED, IN PART, AND DENIED, IN PART.




 SUMMARY JUDGMENT IS GRANTED IN FAVOR OF THE RESPECTIVE DEFENDANTS
 AS TO CAUSES OF ACTION 2-8:

 SECOND CAUSE OF ACTION FOR VIOLATIONS OF THE FOURTEENTH
 AMENDMENT:

                              Summary Judgment is entered in favor of
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 THIRD CAUSE OF ACTION FOR MUNICIPALITY AND SUPERVISOR LIABILITY:

                              Summary Judgment is entered in favor of
                              Defendants City and County of Honolulu
                              and Louis M. Kealoha


 FOURTH CAUSE OF ACTION FOR ASSAULT AND BATTERY:

                              Summary Judgment is entered in favor of
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash

 FIFTH CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF EMOTIONAL
 DISTRESS:

                              Summary Judgment is entered in favor of
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 SIXTH CAUSE OF ACTION FOR NEGLIGENCE:

                              Summary Judgment is entered in favor of
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


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 SEVENTH CAUSE OF ACTION FOR NEGLIGENT INFLICTION OF EMOTIONAL
 DISTRESS:

                              Summary Judgment is entered in favor of
                              Defendants Christopher Chung, Samantha
                              Critchlow, and Stephen Kardash


 EIGHTH CAUSE OF ACTION FOR INTERFERENCE WITH CIVIL RIGHTS:

                              Summary Judgment is entered in favor of
                              Defendants City and County of Honolulu
                              and Louis M. Kealoha


 THE ONLY REMAINING CAUSE OF ACTION:

 FIRST CAUSE OF ACTION FOR EXCESSIVE FORCE IN VIOLATION OF THE
 FOURTH AMENDMENT TO THE UNITED STATES CONSTITUTION PURSUANT TO 42
 U.S.C. § 1983:

                              The First Cause of Action as stated by
                              Plaintiff Gulstan E. Silva, Jr., as
                              Personal Representative of the Estate of
                              Sheldon Paul Haleck, against Defendants
                              Christopher Chung, Samantha Critchlow,
                              and Stephen Kardash in their individual
                              capacities is the only remaining cause
                              of action for trial.


 REMAINING PARTIES:

 PLAINTIFFS:

                              The only remaining Plaintiff is Gulstan
                              E. Silva, Jr., as Personal
                              Representative of the Estate of Sheldon
                              Paul Haleck.

                              There are no remaining claims by
                              Plaintiffs Jessica Y. Haleck,
                              individually and as Guardian Ad Litem
                              for Jeremiah M.V. Haleck, William E.
                              Haleck, and Verdell B. Haleck.




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 DEFENDANTS:

                              The only remaining Defendants are
                              Christopher Chung, Samantha Critchlow,
                              and Stephen Kardash in their individual
                              capacities.

                              There are no remaining claims against
                              Defendant City and County of Honolulu
                              and Defendant Louis M. Kealoha.



       IT IS SO ORDERED.

       DATED: June 27, 2017, Honolulu, Hawaii.




 Gulstan E. Silva, Jr., as Personal Representative of the Estate
 of Sheldon Paul Haleck; Jessica Y. Haleck, Individually and as
 Guardian Ad Litem of Jeremiah M.V. Haleck; William E. Haleck;
 Verdell B. Haleck v. City and County of Honolulu; Louis M.
 Kealoha, Individually; Christopher Chung; Samantha Critchlow;
 Stephen Kardash, Civ. No. 15-00436 HG-KJM; ORDER GRANTING
 DEFENDANT LOUIS M. KEALOHA’S MOTION FOR SUMMARY JUDGMENT (ECF No.
 193) and DENYING PLAINTIFFS’ AMENDED MOTION FOR PARTIAL SUMMARY
 JUDGMENT AS TO THE LIABILITY OF DEFENDANTS CHRISTOPHER CHUNG,
 SAMANTHA CRITCHLOW, STEPHEN KARDASH, LOUIS M. KEALOHA, AND CITY
 AND COUNTY OF HONOLULU FOR VIOLATIONS OF CONSTITUTIONAL RIGHTS
 (ECF No. 195) and GRANTING DEFENDANT CITY AND COUNTY OF
 HONOLULU’S AMENDED MOTION FOR SUMMARY JUDGMENT (ECF No. 199) and
 GRANTING, IN PART, AND DENYING, IN PART, DEFENDANTS CHRISTOPHER
 CHUNG, SAMANTHA CRITCHLOW, AND STEPHEN KARDASH’S AMENDED MOTION
 FOR SUMMARY JUDGMENT (ECF No. 200)
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